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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                          IN THE UNITED STATES DISTRICT COURT                         September 16, 2021
                          FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                   HOUSTON DIVISION

US BANK TRUST, N.A., AS TRUSTEE OF THE                §
IGLOO SERIES III TRUST,                               §
     Plaintiff,                                       §
                                                      §
                                                      §
vs.                                                   §         Civil Action No. 4:20-CV-01082
                                                      §
MICHAEL S. DOUGHERTY, JZAVELA-                        §
ARETHEA DOUGHERTY, DATTAJUSTIN                        §
TOSHIHIRO DOUGHERTY-WILLIAMS, AND                     §
INTERNATIONAL BANK OF COMMERCE,                       §
     Defendants.                                      §


                                            ORDER
         On March 16, 2021, this Court issued a Memorandum & Order (Doc. 63) finding that US

  Bank was entitled to summary judgment on its judicial foreclosure claims against Jzavela-

  Arethea Dougherty and Dattajustin Dougherty (“Occupant Defendants”). The Court further ruled

  that US Bank’s lien against the property would be enforced by foreclosure by order of sale under

  a judgment for judicial foreclosure. On April 14, 2021, this Court entered a Final Judgment in

  this case (Doc. 64).

         On May 3, 2021, this Court entered an Order of Sale (Doc. 66) ordering the sale of the

  real property and improvements located at 2534 Splintwood Court, Kingwood, Texas 77345

  (“the Property”). The May 3, 2021, Order of Sale stated:

         All persons occupying the Property shall turn over the keys to the Property to the
         U.S. Marshal and shall leave and vacate the Property permanently within 30 days
         of the date of this Order, each taking with them his or her personal property (but
         leaving all improvements, buildings, fixtures, and appurtenances to the Property).
         If any person fails or refuses to leave and vacate the Property by the time
         specified in this Order, the U.S. Marshal is authorized and directed to take all
         actions that are reasonably necessary to bring about the ejectment of those persons
         and to seize and post the Property. If any person fails or refuses to remove his or
         her personal property from the Property by the time specified herein, the personal
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       property remaining on the Property thereafter is deemed forfeited and abandoned,
       and the U.S. Marshal is authorized to remove it and to dispose of it in any manner
       they see fit.

       Despite the Order of Sale, the Occupant Defendants failed to timely vacate the Property.

Thus, on June 3, 2021, the U.S. Marshal removed the Occupant Defendants from the Property,

and re-keyed and secured the Property (Doc. 82).

       The U.S. Marshal sold the Property on July 6, 2021. On July 26, 2021, this Court

confirmed the sale by an Order Confirming the Sale (Doc. 98). The Occupant Defendants have

no “interests in, liens against, or claims to, the Property” (Doc. 66).

       On July 12, 2021, the Court held a hearing on Plaintiff’s Motion for Contempt (Doc. 85)

and Defendants’ Motion to Vacate (Doc. 89), at which it confirmed that Defendant Jzavela-

Arethea Dougherty had re-entered and was occupying the Property. On July 12, 2021, this Court

ordered Jzavela-Arethea Dougherty to “vacate the Property in question” (Minute Entry dated

July 14, 2021).

       On August 10, 2021, Plaintiff filed US Bank’s Second Motion for Order of Contempt

against Jzavela-Arethea Dougherty and First Motion for Contempt against Dattajustin Dougherty

(Doc. 105) when it discovered that the Occupant Defendants had permanently re-entered the

Property, changed the locks the U.S. Marshal had installed, and refused to vacate in compliance

with the Court’s July 12, 2021, Order.

       On August 23, 2021, the Court held a telephonic hearing on Plaintiff’s Second Motion for

Contempt (Doc. 105). The Court granted the motion and ordered Occupant Defendants to

“vacate the property in question immediately” (Minute Entry dated August 26, 2021).

       On August 31, 2021, the Court held a status conference and again ordered the Occupant

Defendants to vacate the Property immediately.

       On September 9, 2021, the Court held a status conference and again ordered the

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Occupant Defendants to vacate the Property.

       On May 14, 2021, Jzavela-Arethea Dougherty and Dattajustin Dougherty gave notice of

their intent to appeal the final judgment (Doc. 73). Jzavela-Arethea Dougherty and Dattajustin

Dougherty failed to obtain a stay of execution of the final judgment pending appeal in this Court.

On August 16, 2021, the Fifth Circuit United States Court of Appeals denied Occupant

Defendants’ request for stay in the appellate court (Doc. 107). Absent a stay, this Court retains

jurisdiction to enforce its judgment and orders.

       Having GRANTED two Motions for Contempt, the Court makes the following findings

and rulings:

       1.      On or about May 3, 2021, this Court entered its Order of Sale whereby this Court

ordered the Occupant Defendants to leave and vacate the Property permanently within 30 days;

and

       2.      JZAVELA-ARETHEA DOUGHERTY and DATTAJUSTIN DOUGHERTY

disobeyed and failed to comply with the May 3 Order of Sale when they remained on the

Property and then re-entered it after the federal marshal removed them from it; and

       3.      JZAVELA-ARETHEA DOUGHERTY and DATTAJUSTIN DOUGHERTY

have disobeyed this Court’s orders instructing them to vacate the Property, including those on

May 3, 2021 (Order of Sale - Doc. 66), July 12, 2021 (oral order), July 14, 2021 (minute entry),

August 23, 2021 (oral order), August 26, 2021 (minute entry), August 31, 2021 (oral order) and

September 9, 2021 (oral order);

       Based on the above, it is ORDERED that JZAVELA-ARETHEA DOUGHERTY and

DATTAJUSTIN DOUGHERTY immediately, permanently, and fully vacate the Property

(including the land on which the improvement on the Property sits). It is further

       ORDERED that on or after September 23, 2021, the U.S. Marshal is authorized and
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directed to take all actions that are reasonably necessary to bring about the ejectment of

JZAVELA-ARETHEA DOUGHERTY and DATTAJUSTIN DOUGHERTY and any other

unauthorized occupants from the Property located at 2534 Splintwood Court, Kingwood, Texas

77345. It is further

        ORDERED that on or after September 23, 2021, the U.S. Marshall is authorized and

directed to have free access to the Property located at 2534 Splintwood Court, Kingwood, Texas

77345; to take all actions necessary to preserve the Property; and to return possession of the

Property to Plaintiff, including, but not limited to, retaining a locksmith or other person to change

or install locks or other security devices on any part of the Property. It is further

       ORDERED that if JZAVELA-ARETHEA DOUGHERTY and DATTAJUSTIN

DOUGHERTY fail or refuse to remove their personal property from the Property located at

2534 Splintwood Court, Kingwood, Texas 77345 prior to September 22, 2021, the personal

property remaining on the Property will be deemed forfeited and abandoned by the Order of

Sale in this case, and the U.S. Marshal and/or Plaintiff’s representatives are authorized to

remove any personal property left behind and to dispose of it in any manner they see fit,

including throwing said personal property in the trash.

        JZAVELA-ARETHEA DOUGHERTY and DATTAJUSTIN DOUGHERTY are further

WARNED that their continued failure to comply with this Court’s orders, including this Order,

may result in further sanctions and/or costs being imposed against them.



        Signed on this the 16th day of September 2021.



                                                        KEITH P. ELLISON
                                                        UNITED STATES DISTRICT JUDGE

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